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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA


   In re:
                                                      Case No. 17-12870
   REILLY-BENTON COMPANY, INC.,
                                                      Chapter 7
                  Debtors.
                                                      Section A



       OBJECTION BY TRUSTEE TO LANDRY & SWARR CREDITORS’ MOTION TO
     SUBSTITUTE CREDITORS [P-189] AND JOINDER TO MOTION BY CENTURY AND
     PEIC TO STRIKE OBJECTIONS TO THE TRUSTEE’S MOTION FILED BY DONALD
                     BRIDGES AND MARY SANDERSON [P-192],
                     WITH INCORPORATED MEMORANDUM

            NOW INTO COURT, through undersigned counsel, comes David V. Adler, in his

   capacity as Chapter 7 Trustee (“Trustee”) of Reilly-Benton Company, Inc. (“Reilly-Benton” or

   “Debtor”), who objects to Landry & Swarr Creditors’ Motion to Substitute Creditors [P-189] and

   Joins the Motion by Century and PEIC to Strike Objections to the Trustee’s Motion filed by Donald

   Bridges and Mary Sanderson [P-192] (“Century’s Motion”) for the reasons stated in Century’s

   Motion. Further, Trustee notes for the Court that Bankruptcy Rule 9014(c) makes Bankruptcy Rule

   7025 (and thus F.R.C.P. 25) applicable in contested matters such as this.

                                                       Respectfully submitted,


                                                BY:     /s/ Albert J. Derbes, IV
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                                  CERTIFICATE OF SERVICE

           I hereby certify, that on September 7, 2022, a copy of the foregoing pleading was filed
   electronically with the Clerk of Court using the CM/ECF System for the United States Bankruptcy
   Court for the Eastern District of Louisiana and that notice of this filing is being served on the
   parties participating in this Court’s CM/ECF system for this case.

                                             /s/Albert J. Derbes, IV
                                               Albert J. Derbes, IV

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